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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        WAYCROSS DIVISION

COALITION FOR GOOD
GOVERNANCE and DONNA                    Civil Action No. 5:23-mc-00001-
CURLING,                                LGW-BWC

Plaintiffs,                 In RE Subpoenas issued by the
                            United States District Court
v.                          For the Northern District of
                            Georgia, Atlanta Division,
COFFEE COUNTY BOARD OF Civil Action File No. 1:17-CV-
ELECTIONS AND REGISTRATION, 2989-AT

Defendant.

                   PLAINTIFF CGG’S RESPONSE
              TO CCBOER’S SURREPLY BRIEF (DOC. 78)

  I.     Proven Allegations of a Pattern of Misconduct

       Adopting the apparent strategy that “a good offense is the best

defense,” Defendant CBOER attacks Plaintiff claiming it “demands” the

court make unreasonable inferences and adopt baseless presumptions in

its Reply. CGG and its counsel know better than to “demand” anything

of a court, and CCBOER and its counsel’s self-serving skepticism

notwithstanding, the facts speak for themselves and reflect a pattern of

conduct that individually and taken together, evidence a concerted effort

over more than three years by CCBOER to conceal evidence and thwart

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discovery related to the largest voting system breach in the nation’s

history. In doing so and in “running the clock out” in these proceedings,

CCBOER and HBS have withheld or not timely produced many relevant

documents, prejudicing Plaintiff CGG’s pursuit of its claims in the

Curling case. Without the imposition of sanctions, CCBOER and HBS’s

concealing of damning records through their violations of law and federal

court rules will be effectively successful and rewarded.

     CCBOER offers six bullet points containing conclusions Plaintiff

has drawn from undisputed facts and events.           (Doc. 78, p. 1-2) For

example, CCBOER’s second bullet point on Plaintiff’s conclusion: “The

only logical explanation for such an act [turning over Hampton’s desktop

without making a copy for CCBOER’s access and use as required by law]

is to render CCBOER unable to produce documents it preferred never be

seen.” While CCBOER claims Plaintiff cites no evidence for this claim (or

the other bullet points), in drawing the conclusion, Plaintiff cited to the

fact that CCBOER turned over control and possession of Hampton’s

desktop to the GBI without keeping copies of all its official records as it

was legally required to do, and after being given an opportunity to do so

by the GBI. That is undisputed.


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     CGG noted in its Reply that “CCBOER has never even attempted

to justify the complete surrender of the desktop to the GBI, keeping no

copies of highly relevant records, containing evidence of crimes under

investigation.” Although CCBOER attacks the inferences CGG draws

from this conduct as being unsupported by evidence, and although these

facts are not disputed, remarkably, CCBOER then fails to respond to the

argument at all. (Doc. 78, p. 2) They remain undisputed.

     All the bullet points CCBOER and HBS challenge as being

unsupported by evidence are supported by clear evidence of a pattern of

conduct that is difficult, if not impossible, to explain in any way other

than Plaintiff has explained it. It was repetitive, intentional, and

designed to thwart discovery. A privilege log does not go from 3 ½ pages

to more than 300 pages by accident or without contemplation. Intent

explains all of the issues CGG identifies in its Motion for Sanctions and

related filings (Docs. 60, 69, 70, and 75).

     CCBOER is correct that Ms. Marks’ declaration regarding her

conversation with GBI Special Agent Chris Baldwin is hearsay. It is

hearsay because CCBOER has successfully objected to Plaintiff’s efforts




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to depose witnesses in connection with the proceeding. 1 So, Agent

Baldwin is unavailable to Plaintiff. While this situation is not one of the

conditions that give rise to a finding of unavailability under Rule 804, it

may be sufficiently analogous for the Court to give the declaration some

weight, particularly in the face of no contrary evidence.2 The same is true

regarding Ms. Marks’ declaration regarding Tabitha Paulk telling her

that Ms. Paulk obtained the security video through an ORR in April 2021

after a February or March 2021 request. (Doc. 78. p. 3) This, of course,

leaves unanswered Ms. Marks’ non-hearsay testimony that she viewed

the video Paulk obtained. There is, of course, only one place Ms. Paulk

could have obtained that video in April 2021. And, if Ms. Paulk did not

receive the video in April 2021 in response to an ORR as indicated in the


1 At CCBOER’s urging, the Court did not permit Plaintiff to depose Coffee

County officials and CCBOER’s management concerning the
whereabouts of the laptop used by Ms. Hampton in her official duties.

2 Plaintiff only offered the declaration testimony on this point because
CCBOER scoffed at the notion that the security videos were suddenly
available when the GBI started asking for them. Of course, lying to the
GBI about evidence can result in far greater penalties than a monetary
sanction for thwarting discovery. CCBOER does not refute that the
insistence of the GBI to produce the video records was the reason for their
sudden availability. Likewise, the CCBOER offered no documentation of
the IT consultant’s long-delayed discovery of the video and
communication of discovery to CCBOER.
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County’s official records, CCBOER would be in a unique position to prove

that assertion incorrect, but it has not.

  II.     The Privilege Logs

          A.   The 2022 log

        CCBOER’s duplicity is put on vivid display with respect to the

manner in which it has asserted privilege. As CCBOER contends,

Plaintiff claimed CCBOER’s responses to the Curling and CCG

subpoenas led the parties to believe since August 2022 that “virtually all

responsive documents were in fact produced.” CCBOER denies that it

and Hall Booth Smith (“HBS”) ever made such a representation. (Doc.

78, p. 4) As much as counsel may blanche at the conclusion: that is just

false. The CGG subpoena had 49 categories of requested documents, and

the Curling subpoena had 16. This is the breakdown of responses:

Response                                                 CGG           Curling
                                                       Subpoena       Subpoena
None                                                      17             9
All documents have already been produced                  14             4
Objection: Privilege/Work Product, but documents          8              1
have already been produced
Objection: Privilege/Work Product, but documents            1             1
no such documents exist
Vague and Overbroad                                         4             0
Attaching or Will Produce                                   2             1
Working on it                                               2             0


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Kitchen sink including Privilege, but we are             1             0
working on it and many documents have already
been produced

     For the CGG subpoena, CCBOER claimed it had no responsive

documents for roughly 35% of the requests. For the Curling subpoena,

the number was 56%. Of the remaining requests (32 for CGG and 7 for

Curling), CCBOER claimed it had produced or would produce the

requested documents for 84% of the CGG requests and 100% of the

Curling requests.

     Displaying more sleight of hand, CCBOER argues it objected to over

one-quarter of CGG’s document requests on privilege and work product

grounds. But CCBOER deceptively does not mention that each and every

one of those objections is followed by language purporting to preserve the

objection and claiming that “CCBOE has no additional documents

outside of what has previously been provided to Marilyn Marks or

Plaintiff’s counsel or attached as Exhibits to the depositions of Eric

Chaney and/or Jill Ridlehoover.” (Doc. 75-2) In short, CCBOER’s claims

that it did not represent that the vast majority of existing documents had

been produced is bold and blatant dishonesty. Given those August 2022

representations, when the January 2024 privilege log with 2,700


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unidentified documents was produced, Plaintiffs were understandably

shocked and, (during trial), unprepared to analyze the details of this non-

compliant massive list of previously unknown exceptions to the August

2022 representations.

     CCBOER continues to insist its decision to offer a non-compliant

privilege log that this Court has already found to be unreasonable and

inappropriate was proper. (Doc. 78, p. 5) And CCBOER does not address

the fact that the categorical format of the log was not the only defect

identified by the Court. Plaintiff quoted the Court’s order rejecting the

original privilege log in its Reply, and CCBOER simply ignores the

Court’s critique. (Doc. 41, pp. 13-4) The Court’s decision was correct, and

reasonable people would agree that a generalized 3 ½ page log cannot

possibly enable a party to challenge privilege objections when a 498-plus

page log (which remains deficient) is needed just to list the withheld

documents, without even describing them.

     And CCBOER continues to argue that Plaintiff’s challenge to the

privilege log is untimely, although the Court has already rejected that

argument in its Order of April 25, 2024. (Doc. 78 p. 6)




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        B.    The 2024 logs

     Plaintiff has repeatedly explained its reasons for being unable to

perform a thorough examination of the 301-page privilege log served on

January 3, 2024, which became a 498-page still non-compliant privilege

log on January 17, 2024. CCBOER had effectively run out the clock. By

January 3, the CGG team was fully absorbed in preparation for the trial

this entire controversy is about.

     The Court ultimately gave Plaintiff until January 29, 2024, to make

objections to the log of 498 pages produced January 17 but, to Plaintiff’s

surprise, the trial was still ongoing at that time. However, the fact that

Plaintiff could not raise all the objections that would have been made to

the 2024 2,700 line privilege logs had there been adequate time is not

relevant to the Sanctions Motion. The appropriate inquiry in connection

with the Sanctions Motion is whether CCBOER violated the standards

for a proper privilege log on its first attempt—and the Court has held

that it did—and whether it complied with the Court’s instructions in

preparing the 2024 logs, and clearly it did not. The Sanctions Motion

seeks sanctions first for the 2022 log and secondarily for the late-

produced January 17, 2024 log.


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     The January 3, 2024 log (later substantially revised on January 17)

is deficient as well, as was pointed out in the Reply; it contained no

descriptions of the listed documents other than the nature of the privilege

asserted. As noted in the Reply, there were over 850 email attachments

listed in the log, but the attachments are not described with identification

of authors, recipients, subject, or date. The Surreply offers no explanation

for CCBOER’s failure to comply with the Court’s order in which the

requirements and rationale for the details of a privilege log are explained.

(Doc. 41 at 12-15)

     Also, as is noted in the Reply, the logs end on July 25, 2022,

although the original log recorded documents through August 26 and

noted that privileged communications were “ongoing.” (Doc. 75, p. 6; Doc.

29-2) A July 25, 2022 cut-off date excluded the month of activity between

July 25 and August 26. Again, the Surreply offers no explanation.

     On January 17, 2024, during the Curling trial, CCBOER served a

new 498-page log also with a July 25, 2022 cut-off, changing the

recipient list for dozens of emails but still excluding document

descriptions, subject matter, identification of authors, and dates of

creation. Plaintiff’s Reply also catalogues a variety of issues regarding


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material differences between the January 3 log and the January 17 log.

The Surreply is stunning in its silent inattention to Plaintiff’s critique.

     In short, all CCBOER’s privilege logs are wholly inadequate,

incomplete,   non-compliant,    and    inconsistent   with      August   2022

representations of minimal withheld documents made by CCBOER

counsel, in ways that prejudiced Plaintiff in the Curling case. (See

Doc.75-12)

  III. The Video Recordings

        A.    Rule 26

     HBS seeks to immunize itself from sanctions by arguing it relied on

information from CCBOER’s IT consultant that the “security video

system overwrites previously recorded footage after a certain number of

days to accommodate data storage capacity.” (Doc. 78, p. 9) “A certain

number of days” has been more precisely defined elsewhere by CCBOER

as every 60 days.3 Precision is important here because HBS’s excuse does

not survive precision. Election Office Security video was ultimately




3 CCBOER Rule 30(b)(6) witness Wendell Stone testified the standard

preservation period before overwriting videos was 60 days. See Doc. 75-5
Exhibit “E,” Tr. 17:19-18:4; 21:5-10; 246:21-24, attached to CGG’s Reply.
(Doc. 75) The Surreply does not address this fact.
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produced to Plaintiffs covering the period November 15, 2020, through

February 26, 2021, a period of 103 days.4 HBS knew of the existence of

video covering this period, which included all of known January 2021

breaches of the elections system, because Tony Rowell of HBS conducted

a meeting of CCBOER on February 25, 2021, at which he made the same

videos available to the Board in considering the termination of Misty

Hampton.

        The alternating availability and unavailability of the video security

records as detailed in the Video Timeline attached hereto as Exhibit “1”

undercuts the credibility of HBS’s representations. CCBOER used the

videos well after the 60-day overwriting period to justify the termination

of Misty Hampton in late February 2021. Given that the videos were the

linchpin evidence to support Hampton’s termination, surely HBS would

not have allowed their clients, Coffee County and CCBOER, to destroy

the videos after the termination.

        On March 12, 2021, Tabitha Paulk was communicating with Coffee

County regarding obtaining a copy of the video.           (Doc. 75-10) After




4 SeeExhibit “D,” Marks Declaration, attached to CGG’s Reply. The
Surreply does not address this fact.
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notifying her of the availability of the video on April 15, 2021, (Exh. 2)

the video was supplied to Ms. Paulk, and Misty Hampton had also

requested a copy of the video on March 31, 2021. (Doc. 75-6) The exchange

of emails between Tracie Vickers, Charles Dial (sometimes copying

Wesley Vickers) in March and April 2021 discuss getting the videos to

Ms. Hampton and Ms. Paulk. (Doc. 75-10) The communications indicated

that the security recordings did indeed exist but more time was required

for copying onto another device. (Doc. 75-6 at 3) Indeed, an April 23, 2021

email from Vickers to Dial asks, “Could you please give me an estimate

as to when you will have the video ready for Misty”?5 (Doc.75-10, p. 3)

CCBOER notified Ms. Hampton on July 15, 2021 that the video was

ready for pickup, (see July 15, 2021 email exchange attached hereto as


5
 Further undercutting CCBOER’s position, in the Secretary of State’s
Rule 30(b)(6) deposition, the designee, Gabe Sterling, testified that
following the May 2021 inquiry concerning Cyber Ninja’s potential visit
to CCBOER office (Doc. 75-12) the Secretary of State investigators sought
CCBOER video security records and were told by CCBOER that they did
not exist. (Exh. 4; Sterling Tr. pp. 74:21-76:23, 80:12-85:10, 97:17-100:1,
110:16-112:11, and 114:15-19) Yet, we now know that only a month
before, CCBOER and its IT consultant had supplied the requested video
record to Ms. Paulk (see April 15, 2021 email exchange attached hereto
as Exhibit “2”), and a month later, prepared the video record for Ms.
Hampton. (Exh. 3)


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Exhibit “3”), videos that CCBOER purportedly forgot had existed when

Ms. Marks began seeking them nine months later.

     Given that the videos were eventually produced, plainly they were

not destroyed. In short, they were never overwritten, and they were never

unavailable. In addition, HBS continues to offer no description of any

diligence it engaged in to confirm the representations of its client and IT

contractor—representations that HBS’s Mr. Rowell, at a minimum,

personally knew were untrue.

     HBS argues that the certification of its responses to subpoenas

predated (or were contemporaneous with) HBS advising CGG that the

exterior video had been located—on August 26, 2022. This, of course, begs

the question: Why did this revelation not cause HBS to immediately

launch an inquiry into how and why the exterior video survived but the

interior video did not? What diligence was pursued at that moment?

     HBS actually does answer the question, if only by accident, in Ms.

Herzog’s declaration. Ms. Herzog reports in Paragraph 19 of her

declaration that “In September 2022”—note the absence of a specific

date—“Coffee County staff notified me that, during the course of other

duties, [the IT contractor] found a copy of the security videos of the


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interior of the CCBOER office during the relevant time period.” (Doc. 73-

3, p. 7) (emphasis added). So, the IT contractor, after preparing the

exterior video copies for Ms. Paulk and Ms. Hampton in 2021,

purportedly stumbled upon the “overwritten” exterior video in August

2022 and then stumbled upon the interior video in September 2022, but

we are not told how or why the discoveries took place or how or when they

were communicated to CCBOER or counsel. We are told, however, it was

during the course of other duties, so clearly the discovery of the

exterior videos, which had purportedly been believed to be overwritten,

apparently did not result in any follow-up diligence on HBS’s part to see

if the interior video had likewise survived.

     And while we know that Ms. Herzog reports that Plaintiffs had

exterior and interior video on September 16, 2022, Ms. Herzog fails to

identify the specific date on which she had access to either video.

Interestingly, the depositions of SulivanStrickler, one of the IT

consultants who breached the election system and copied the election

software, and Wendell Stone, CCBOOER’s Rule 30(b)(6) designee, were

taken the first week of September 2022. A timely release of the interior

videos would have dramatically changed those depositions and the


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document subpoenas to SullivanStrickler, Eric Chaney, and Cathy

Latham, among others.

      In any event, HBS knew what it was being told by the client and

the IT consultant was untrue—if that is what it was told—and when it

learned the there was solid reason to doubt what it had purportedly been

told, it did nothing.

         B.    28 USC § 1927 and the Inherent Power of the Court

      In response to Plaintiff’s arguments related to these bases for

sanctions, HBS simply declares it did not act in bad faith and points to a

record that fails to support that contention. CGG submits that the record

vividly displays a pattern of deception and outright deceit, and every time

HBS defends what has come before they dig a deeper hole of duplicity.

   IV.   The Election Office Desktop

      In their Surreply, CCBOER and HBS do little more than

regurgitate the positions they took in Response to the Motion. Although

styled as a “Surreply,” their latest offering does very little to reply to

anything related to the desktop. For example, the Surreply does not

address the fact that on July 2, 2021, Mr. Dial informed County Manager

Vickers he should be able to recover the emails from .ost files on the


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desktop, assuming Ms. Hampton did not delete them. 6                 In May,

2021,James Barnes and staff were instructed to leave their computers on

at night so Dial could access them for that purpose.7

        After Dial exchanged vague and unresponsive emails with Ms.

Herzog on the existence of the emails, Mr. Vickers plainly asked Dial (in

a withheld email), copying Herzog, Rowell, and two other HBS attorneys,

whether Dial “personally searched the desktop computer” or if he was

just agreeing to previous reports regarding the email account. 8 As CGG

indicated in its Reply, to its knowledge, Dial did not answer the email. In

declaring their reasonable reliance and “best practices,” CCBOER and

HBS do not suggest that Dial did respond.9 Nor do they respond at all to




6 See Exhibit “L,” (Doc. 75-11) attached to CGG’s Reply; see also Doc. 1-6

at 2.

7See Exhibit “N-12,” (Doc. 75-12 at 52) attached to Exhibit “N” to CGG’s
Reply. (Doc. 75)

8 CGG located a follow-up email on the same thread on the GBI image,

not produced by CCBOER—so much for good faith. See Exhibit “Q,”
attached to CGG’s Reply. (Doc. 75)

9 As has been seen, Ms. Herzog at times had encouraged CCBOER
personnel not to put potentially damaging information concerning the
breaches in writing. (Doc. 31-8 at 2)

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what the upshot of Dial’s July 2021 forensic effort was. Exercising

minimal diligence, however, Ms. Herzog, other attorneys copied on the

email, and CCBOER management should have confirmed whether Dial

personally searched the desktop and requested documentation showing

the desktop had been searched for available .ost files.10

        Demonstrating the pattern of negligence or bad faith, on May 10,

2022, Ms. Herzog, copying county employees Wesley Vickers and Tracie

Vickers, claimed that no .ost files would be available “as Ms. Hampton

used web access.” (Doc. 1-4 at 4, ¶9) County Manager Vickers and County

Clerk Vickers both used the same county email system and would have

known that emails were preserved on county desktop computers, not

solely on a web-based site.

        Despite the seriousness of the alleged crimes, pending post-election

litigation, inquiries from the Secretary of State investigators, HBS and

CCBOER also failed to secure the computers, preserve essential required

records, stop the overwriting of files, or conduct the most basic due




 CCBOER responded to a May 2, 2022 Open Records Request from Ms.
10

Marks (specifically asking for documentation of such a search), stating
that no records documenting this purported search were found. (Doc. 1-4
at 4 ¶9)
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diligence when requested to do so. A responsible official or attorney would

have ordered immediate preservation and forensic examination to ensure

that records of potential criminal activity would be preserved.11 CCBOER

and HBS’s reliance on a IT tech who had not routinely set up county

systems to retain required official communications and records, gave

conflicting responses to routine use of .ost files, and had not disclosed

experience in forensic examination or preservation of ESI, simply cannot

be explained. CCBOER and HBS do not even try to explain it other than

to claim they had “no reason” to engage a competent litigation support or

forensics consultant to evaluate the status of the ESI and preserve it,

despite the broad and serious crimes allegedly committed. Herzog and

Rowell were aware of such public allegations no later than March 2022.

     CCBOER claims again it followed “best practices” by consulting

with Mr. Dial, and Dial represented that he was unable to retrieve

Hampton’s emails. CCBOER does not even attempt to respond to Kevin


11 It is notable that after being notified no later than March 2022 of the

suspected breaches and their severity, CCBOER and counsel have still to
this day undertaken no effort to investigate or review the breaches, the
internal failures, or the security impacts on their election infrastructure.
Instead, it appears their efforts have been primarily directed toward
concealing the evidence of the unlawful breaches.

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Skoglund’s declaration that CCBOER’s position is “false.” “The emails

for Misty Hampton…were located exactly where any IT professional

would expect to find them and easily discovered by anyone who

put in a small amount of effort to search for them.” The details of

Mr. Skoglund’s review are set forth in CGG’s Reply, but CCBOER and

HBS do not address the damning facts presented.12 (Emphasis added).

        CCBOER also says nothing about the GBI seizure of Ms. Hampton’s

desktop computer in June 2023, or about the fact that CCBOER and HBS

had been informed the seizure would occur before it happened, giving

them planning time for records preservation. Nor do they deny that the

GBI permitted CCBOER to copy and retain any of the resident files, but

that CCBOER chose not to retain the files subject to the subpoenas (and

Open Records laws) despite knowing there were multiple law

enforcement investigations and lawsuits ongoing regarding the breaches

where CCBOER had extensive records preservation duties.                    The

decisions made by HBS and CCOBER failed to meet even the most




12 See Skoglund Declaration, filed on February 20, 2024, as Exhibit 2 to
the Sanctions Motion (Doc. 60-2).
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minimal required practices of attorneys, much less approach “best

practices.”

  V.      Conclusion

       Plaintiff seeks to address the misconduct of CCBOER and HBS as

detailed in its Motion for Sanctions. In addition to the monetary penalties

sought for sanctions, Plaintiff also requested the Court order the

production of discovery materials improperly withheld by CCBOER.

Such relevant documents may be required by Plaintiffs in any possible

future proceedings in the Curling case. CCBOER and HBS should not be

rewarded for their defiance of the Rules, Subpoenas, and this Court’s

Orders.

       Respectfully submitted this 9th day of May 2024.

                                  /s/ William Daniel Davis
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                                   and

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                                   Governance



                     CERTIFICATE OF SERVICE

     I hereby certify that on May 9, 2024, a copy of the foregoing

Plaintiff CGG’s Response to CCBOER’s Surreply Brief (Doc. 78)

was electronically filed with the Clerk of Court using the CM/ECF system

which will automatically send notification of such filing to all attorneys of

record.

                                          /s/ William Daniel Davis
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                                          Governance




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